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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF OHIO
                              EASTERN DIVISION



 Richard Horton,
                                                    Case No. 2:23-cv-3888
                 Plaintiff,
                                                    Chief Judge Algenon L. Marbley
        v.
                                                    Magistrate Judge Elizabeth Preston Deavers
 City of Columbus, et al.,

                 Defendants.


                AMENDED NOTICE OF DEPOSITION OF RHONDA CURRY

       Please take notice that Defendants City of Columbus and Brenda K. Walker, pursuant to

Fed. R. Civ. P. 30, will take the deposition upon oral examination before a court reporter of Rhonda

Curry on Tuesday, August 06, 2024, at 10:00 a.m. at the Columbus City Attorney’s Office, 77

North Front Street, Fourth Floor, Columbus, Ohio 43215. The original deposition scheduled for

June 25, 2024, was rescheduled at opposing counsel’s request.

       The deposition will be taken stenographically, conducted under the supervision of an

officer who is authorized by law to administer oaths, and will be video recorded. Said deposition

is for discovery purposes and will continue from day to day until completed.

       The subpoena issued to Rhonda Curry via a process server with proof of service is attached

as Exhibit A.
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                                                  Respectfully submitted,

                                                  /s/ Alana V. Tanoury
                                                  Alana V. Tanoury (0092265)
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                                                  Dexter W. Dorsey (0097657)
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                                                  Counsel for Defendants City of Columbus
                                                  and Brenda K. Walker




                                CERTIFICATE OF SERVICE

       I hereby certify that, on July 8, 2024, I electronically filed the foregoing with the Court

using the Court’s CM/ECF system. Copies will be served upon counsel of record by, and may be

obtained through, the Court’s CM/ECF system.




                                                  /s/ Alana V. Tanoury
                                                  Alana V. Tanoury (0092265)




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                                                                        Exhibit A
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